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                           UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION

                                         *
TAYLOR JONES                             *   CASE NO. 6:22-CV-00565
                                         *
                                         *   CHIEF JUDGE S. MAURICE
VERSUS                                   *   HICKS, JR.
                                         *
                                         *   MAGISTRATE JUDGE CAROL B.
CITY OF BROUSSARD                        *   WHITEHURST
                                         *
                                         *
 * * * * * * * * * * * * * * * * * * * * * ** * * * * * * * * * * * * * * * *

                              RESPONSE TO REMOVAL ORDER

       Pursuant to the Court’s Removal Order of March 2, 2022, Defendant, City of Broussard,

through undersigned counsel hereby submits the following information in accordance with 28

U.S.C § 1447(b).


                           LIST OF PARTIES AND PLEADINGS

       Defendant, City of Broussard, respectfully submits the following list of parties and

pleadings filed in this action and attaches hereto copies of the certified State Court Record as

Exhibit A in globo.

       A.     List of Parties and Counsel:

              1. Plaintiff:         Taylor Jones

                   Counsel:         Lee C. Durio (Bar No. 37453)
                                    Durio Law Firm
                                    241 West Mills Avenue
                                    Breaux Bridge, LA 70517
                   Telephone:       (337) 909-1111
                   Fax:             (337) 909-1112
                   Email:           leedurio@duriolaw.com




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            2. Defendant:         City of Broussard

               Counsel:           E. Fredrick Preis, Jr. (Bar No. 10704)
                                  Eve B. Masinter (Bar No. 1218)
                                  Philip J. Giorlando (Bar No. 38234)
                                  First Bank & Trust Tower, Suite 1500
                                  909 Poydras Street
                                  New Orleans, LA 70112-4004
               Telephone:         (504) 619-1800
               Fax:               (504) 617-7928
               Email:             efp@bswllp.com
                                  eve.masinter@bswllp.com
                                  philip.giorlando@bswllp.com


      B.    List of Pleadings and Filings in State Court Record:

            1. Plaintiff’s Petition for Damages (10/13/21);

            2. In Forma Pauperis Affidavit with signed Order (10/18/21);

            3. Citation to City of Broussard (10/18/21) with Sheriff’s Return
               dated 10/20/21;

            4. Civil Cover Sheet (10/22/21);

            5. Defendant’s Motion and Order for Extension of Time to File
               Responsive Pleadings (10/28/21);

            6. Defendant’s Peremptory Exception of No Cause of Action,
               Memorandum in Support, Rule to Show Cause on March 2, 2022
               (12/6/21);

            7. RULE NISI to Taylor Jones, Sheriff’s Return to show cause on
               March 2, 2022 at 10:00 a.m. (12/14/21);

            8. Plaintiff’s Pretrial Memorandum in Opposition to Exceptions of
               No Cause of Action (2/22/22);

            9. Plaintiff’s Amended and Supplemental Petition for Damages
               (2/25/22);

            10. Defendant’s Notice of Removal filed in State Court, with
                attachment (Notice of Removal filed in U.S. District Court for
                the Western District of Louisiana) (2/25/22).




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                               CERTIFICATE OF COUNSEL

       I, Eve B. Masinter, hereby certify that the attached certified State Court Record (Exhibit

“A”) constitutes the entire record with the 15th JDC for the Parish of Lafayette, as confirmed by

the certification page signed by Deborah Duplechin, Deputy Clerk of Court for the Parish of

Lafayette.


                                         Respectfully submitted:

                                         BREAZEALE, SACHSE & WILSON, L.L.P.

                                         By: /s/ Eve B. Masinter
                                         E. Fredrick Preis, Jr. (La. Bar No. 10704)
                                         Eve B. Masinter (La. Bar No. 1218), T.A.
                                         Philip J. Giorlando (La. Bar No. 38234)
                                         First Bank & Trust Tower, Suite 1500
                                         909 Poydras Street
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                                         Philip.giorlando@bswllp.com
                                         Counsel for Defendant, City of Broussard




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